Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 1 of 14 Page ID #:144



   1    Darren D. Darwish, Esq. (SBN 305797)
   2
        THE DARWISH LAW FIRM, APC
        12301 Wilshire Blvd., Suite 520
   3    Los Angeles, CA 90025
   4    Telephone: (424) 369-5353
        Facsimile: (424) 369-5356
   5    Email:      darren@darwishfirm.com
   6
        Benjamin A. Azizian, Esq. (SBN 298987)
   7    AZIZIAN LAW, P.C.
   8    3450 Wilshire Blvd, Suite 304
        Los Angeles, CA 90010
   9    Telephone: (888) 914-6670
  10    Facsimile: (888) 914-8322
        Email:      benji@azizianlaw.com
  11
        Attorneys for Plaintiffs,
  12
        JOHN DOE 1 and JOHN DOE 2
  13

  14                        UNITED STATES DISTRICT COURT
  15
                           CENTRAL DISTRICT OF CALIFORNIA
  16
  17   JOHN DOE 1, an individual; and JOHN       Case No.: 2:20-cv-05554-RSWL-AGR
  18   DOE 2, an individual,
                                                 DECLARATION OF DARREN
  19         Plaintiffs,                         DARWISH IN SUPPORT OF
  20                                             PLAINTIFFS’ OPPOSITION TO
                   v.                            DEFENDANT UNITED AIRLINES,
  21                                             INC.’S MOTION TO DISMISS
  22   UNITED AIRLINES, INC., an Illinois        PORTIONS OF PLAINTIFFS’
       Corporation; ROE 1, an individual; ROE    FIRST AMENDED COMPLAINT
  23   2, an individual; ROE 3, an individual;
  24   and ROES 4 through 50, inclusive,         Date: August 4, 2020
                                                 Time: 10:00 a.m.
  25        Defendants.                          Crtrm: TBD
  26
                                                 Complaint Filed: May 18, 2020
  27                                             FAC Filed: May 20, 2020
  28

                                               i
         DECLARATION OF DARREN DARWISH ISO PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED
                 AIRLINES, INC.’S MOTION TO DISMISS PORTIONS OF PLAINTIFFS’ FAC
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 2 of 14 Page ID #:145



   1                      DECLARATION OF DARREN DARWISH
   2          I, Darren Darwish, declare as follows:
   3          1.     I am an attorney admitted to practice in the State of California and I
   4    am the managing attorney of The Darwish Law Firm, APC, co-counsel of record
   5    for Plaintiffs John Doe 1 and John Doe 2. The following facts and circumstances
   6    are personally known to me or based upon information and belief, and if called as a
   7    witness, I could and would competently testify thereto.
   8          2.     On June 24, 2020, counsel for Defendant sent an e-mail to myself and
   9    my co-counsel, Benjamin Azizian, attaching a meet and confer letter dated June 24,
  10    2020. Attached hereto as Exhibit “A” is a true and correct copy of the June 24, 2020
  11    e-mail and meet and confer letter.
  12          3.     Per the request of Defendant’s counsel, on June 26, 2020, counsel for
  13    the parties scheduled a telephonic meet and confer for Tuesday, June 30, 2020 at
  14    1:30 p.m. The telephonic meet and confer took place on Tuesday, June 30, 2020 at
  15    1:30 p.m. I participated in the telephonic meet and confer on Tuesday, June 30, 2020
  16    at approximately 1:30 p.m. along with my co-counsel, Benjamin Azizian, and
  17    Defendant’s counsel, Todd Worthe and Mackenzie C. Foellmer.
  18          4.     Defendant’s deadline to meet and confer was June 23, 2020. All meet
  19    and confer efforts made by Defendant’s counsel occurred after the June 23, 2020
  20    deadline. The first discussion regarding the substance of the Motion occurred one
  21    week after the June 23, 2020 deadline on June 30, 2020, just hours before the Motion
  22    was filed.
  23          5.     Approximately two (2) hours after the untimely telephonic meet and
  24    confer on June 30, 2020, Defendant filed its Motion at 3:38 p.m. Attached hereto as
  25    Exhibit “B” is a true and correct copy of the Notice of Electronic Filing e-mail that
  26    I received regarding the Motion and associated documents filed by Defendant.
  27          6.     Following the untimely telephonic meet and confer, I sent an e-mail to
  28    Defendant’s counsel memorialize the meet and confer conference. Attached hereto
                                                  1
          DECLARATION OF DARREN DARWISH ISO PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED
                  AIRLINES, INC.’S MOTION TO DISMISS PORTIONS OF PLAINTIFFS’ FAC
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 3 of 14 Page ID #:146



   1    as Exhibit “C” is a true and correct copy of my e-mail correspondence of June 30,
   2    2020 and Mr. Worthe’s reply.
   3          7.     Defendant’s meet and confer omitted and failed to address certain
   4    issues argued that were argued in Defendant’s Motion. Defendant omitted the issue
   5    of whether Plaintiffs alleged Defendant acted intentionally from its meet and confer
   6    correspondence of June 24, 2020 and during the telephonic meet and confer on June
   7    30, 2020. In both of the meet and confers, Defendant presented only one argument
   8    as to why the cause of action for violation of the Unruh Act is not properly pled –
   9    the discrimination took place out of California’s jurisdiction. However, in its
  10    Motion, Defendant’s lead argument for dismissal of the violation of Unruh Act
  11    cause of action is that Plaintiffs have not alleged Defendant acted intentionally.
  12    Defendant also omitted key issues with respect to the cause of action for intentional
  13    infliction of emotional distress and failed to address the issue of the prayer for
  14    declaratory and injunctive relief.
  15          I declare under penalty of perjury pursuant to the law of the State of
  16    California that the foregoing is true and correct.
  17          Executed this 14th day of July 2020 at Los Angeles, California.
  18
  19
                                                       /s/ Darren Darwish
  20                                                   Darren Darwish, Esq.
  21
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                                                   2
          DECLARATION OF DARREN DARWISH ISO PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED
                  AIRLINES, INC.’S MOTION TO DISMISS PORTIONS OF PLAINTIFFS’ FAC
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 4 of 14 Page ID #:147




                    EXHIBIT A
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 5 of 14 Page ID #:148


    From:            Gina Fisher
    To:              Darren Darwish; benji@azizianlaw.com
    Cc:              Todd Worthe; Mackenzie Foellmer
    Subject:         John Doe 1; John Doe 2 v. United Airlines, Inc., et al. - 6/24/2020 Correspondence Attached
    Date:            Wednesday, June 24, 2020 10:47:40 AM
    Attachments:     06 24 2020.pdf


    Messrs. Darwish and Azizian:

    Attached please find our Meet and Confer correspondence dated today’s date of June 24, 2020.

    Thank you,

    Gina M. Fisher, Legal Assistant
    gfisher@whwlawcorp.com




              Tower 1851
     1851 East First Street, Suite 400
         Santa Ana, CA 92705
           (714) 285-9600
           (714) 285-9700
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 6 of 14 Page ID #:149
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 7 of 14 Page ID #:150
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 8 of 14 Page ID #:151




                     EXHIBIT B
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 9 of 14 Page ID #:152


    From:           cacd_ecfmail@cacd.uscourts.gov
    To:             ecfnef@cacd.uscourts.gov
    Subject:        Activity in Case 2:20-cv-05554-RSWL-AGR John Doe 1 et al v. United Airlines, Inc. et al Motion to Dismiss (cause
                    or other)
    Date:           Tuesday, June 30, 2020 3:39:42 PM




    This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
    RESPOND to this e-mail because the mail box is unattended.
    ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States
    policy permits attorneys of record and parties in a case (including pro se litigants) to
    receive one free electronic copy of all documents filed electronically, if receipt is required
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    charges, download a copy of each document during this first viewing. However, if the
    referenced document is a transcript, the free copy and 30 page limit do not apply.

                                  UNITED STATES DISTRICT COURT

                                CENTRAL DISTRICT OF CALIFORNIA

    Notice of Electronic Filing

    The following transaction was entered by Worthe, Todd on 6/30/2020 at 3:38 PM PDT and
    filed on 6/30/2020
    Case Name:           John Doe 1 et al v. United Airlines, Inc. et al
    Case Number:         2:20-cv-05554-RSWL-AGR
    Filer:               United Airlines, Inc.
    Document Number: 7

    Docket Text:
    NOTICE OF MOTION AND MOTION to Dismiss Portions of Plaintiffs' First
    Amended Complaint filed by defendant United Airlines, Inc.. Motion set for
    hearing on 8/4/2020 at 10:00 AM before Judge Ronald S.W. Lew. (Attachments:
    # (1) Exhibit A to Motion to Dismiss, # (2) Proposed Order, # (3) Proof of Service
    of Motion to Dismiss) (Worthe, Todd)


    2:20-cv-05554-RSWL-AGR Notice has been electronically mailed to:

    Benjamin Abraham Azizian             benji@azizianlaw.com

    Darren David Darwish         darren@darwishfirm.com

    Mackenzie Cass Foellmer           mfoellmer@whwlawcorp.com

    Todd Christopher Worthe tworthe@whwlawcorp.com, gfisher@whwlawcorp.com,
    mrigley@whwlawcorp.com

    2:20-cv-05554-RSWL-AGR Notice has been delivered by First Class U. S. Mail or by
    other means BY THE FILER to :
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 10 of 14 Page ID
                                  #:153

  The following document(s) are associated with this transaction:

  Document description:Main Document
  Original filename:C:\fakepath\Motion to Dismiss 2 (JN Edits) gmf1.pdf
  Electronic document Stamp:
  [STAMP cacdStamp_ID=1020290914 [Date=6/30/2020] [FileNumber=30079574-0
  ] [1f52c6ed864c993c4d09d2843f0dde3c94027dbfc81e3550685f597f69a46ce6082
  ad93cb03df2ded529ed0d080e6b9e9cfa2f50de209202d7ef05d9e9087135]]
  Document description:Exhibit A to Motion to Dismiss
  Original filename:C:\fakepath\ex a fac.pdf
  Electronic document Stamp:
  [STAMP cacdStamp_ID=1020290914 [Date=6/30/2020] [FileNumber=30079574-1
  ] [917dcdf856c29a0b9072074470abd4706bcaba0dc3543662202b17933ed41f2e8da
  937ae6b13d87d7764a83ca8df319b5097a47d1ba21eda3449d82c194922a7]]
  Document description:Proposed Order
  Original filename:C:\fakepath\Motion to Dismiss Proposed Order.pdf
  Electronic document Stamp:
  [STAMP cacdStamp_ID=1020290914 [Date=6/30/2020] [FileNumber=30079574-2
  ] [446ed6534dabffb55d6bd40ad4cf082768431c1d25b85487ddf2871201efbf7f07f
  b8fdf9a12de552fd40f2ea1a1457004aea92eb9aea095fdcca7046860d76a]]
  Document description: Proof of Service of Motion to Dismiss
  Original filename:C:\fakepath\PROOF OF SERVICE re MTN TO DISMISS.pdf
  Electronic document Stamp:
  [STAMP cacdStamp_ID=1020290914 [Date=6/30/2020] [FileNumber=30079574-3
  ] [b9a7ea899a7553f2a4f6ba49200acf133da7aabc90ca53c2a1e8fd9c76511eb0f48
  f91a4d3370a21f452d657324661be7a59f8fbc2847546f98d19cdbe97e78f]]
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 11 of 14 Page ID
                                  #:154




                  EXHIBIT C
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 12 of 14 Page ID
                                  #:155

  From:            Todd Worthe
  To:              Darren Darwish; Mackenzie Foellmer
  Cc:              benji@azizianlaw.com
  Subject:         RE: Doe v. United, et al.
  Date:            Tuesday, June 30, 2020 4:55:21 PM
  Attachments:     image001.png



  Hi Darren:

  All good with the exception of the proposed Errata. We disagree that a mistake
  was made. The Removal was based upon the deadline imposed for “receipt of
  the first piece of paper;” i.e. the Original Complaint. We agree to take it up the
  chain to alleviate your client’s concerns over privacy and will address in writing.
   Does the first amended complaint make reference to his NFL status? I forget.

  Todd

  From: Darren Darwish [mailto:darren@darwishfirm.com]
  Sent: Tuesday, June 30, 2020 3:38 PM
  To: Todd Worthe <tworthe@whwlawcorp.com>; Mackenzie Foellmer
  <mfoellmer@whwlawcorp.com>
  Cc: benji@azizianlaw.com
  Subject: Doe v. United, et al.

  Todd and Mackenzie:

  It was a pleasure speaking with you both. This email memorializes today’s telephonic meet and
  confer.

  Defendant’s 12 (b)(6) Motion to Dismiss:

         Unruh Act – parties met and conferred in accordance with LR 7-3. Parties were unable to
         reach a resolution that would have eliminated the necessity for a motion/hearing. Defendant
         intends to file its motion to dismiss based on its arguments set forth in its June 24, 2020 meet
         and confer letter.
         Intention Infliction of Emotional Distress - parties met and conferred in accordance with LR 7-
         3. Parties were unable to reach a resolution that would have eliminated the necessity for a
         hearing. Defendant intends to file its motion to dismiss based on its arguments set forth in its
         June 24, 2020 meet and confer letter.
         Negligent Infliction of Emotional Distress – parties met and conferred in accordance with LR 7-
         3. Parties were unable to reach a resolution that would have eliminated the necessity for a
         hearing. Defendant intends to file its motion to dismiss based on its arguments set forth in its
         June 24, 2020 meet and confer letter. Plaintiffs, however, did explain that they may concede
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 13 of 14 Page ID
                                  #:156

          to Defendant’s arguments re the NIED claim to be briefed in its motion to dismiss.
          Negligent Hiring, Training, Supervision, and Retention – you both represented to us that you
          will not bring a 12(b)(6) motion to dismiss with respect to the claim for Negligent Hiring,
          Training, Supervision, and Retention.

  Notice of Errata:

  Benji sent a separate email requesting that you file an errata correcting the mistake in your removal
  papers regarding the residence of John Doe 1. John Doe 1’s residence was corrected in the First
  Amended Complaint, which is the operative complaint. We request that an errata be filed so that all
  the information provided to the court is accurate and up to date, as these filings are all public
  records and we don’t want any misleading or incorrect information being made public. Additionally,
  this correction will not affect the current diversity of citizenship argument for the basis of your
  removal. You agreed and will recommend the errata to your client. You will follow-up with us once
  you have spoken to your client. From a timing perspective, you anticipate the errata to be filed after
  your motion to dismiss.

  Rule 26 Conference:

  We will await the court’s scheduling order with respect to deadlines; however, parties will continue
  to fulfill their meet and confer obligations to help move this matter forward.

  Identities of Roe Defendant:

  You acknowledged that the identifies of the Roe Defendants will be disclosed and provided. You
  indicated that you may also be able to accept/acknowledge service on behalf of the Roe flight
  attendants.

  Plaintiffs will request leave at hearing of motion to dismiss depending on outcome or will separately
  request that parties stipulate to allow Plaintiffs leave to allege negligence against Roe 1 (the
  assailant). We are confirming your agreement as to leave to amend to allege negligence against Roe
  1.

  If you disagree with anything above, please let us know.

  Have a great week.

  Best,
  D

  Darren D. Darwish, Esq.
  Founding President and Managing Attorney
  Justice For The Little Guy™
Case 2:20-cv-05554-RSWL-AGR Document 8-1 Filed 07/14/20 Page 14 of 14 Page ID
                                  #:157




  12301 Wilshire Boulevard
  Suite 520
  Los Angeles, CA 90025
  Telephone: (424) 369-5353
  Facsimilie: (424) 369-5356
  darren@darwishfirm.com
  www.darwishfirm.com

  Due to State of California/LA County Safer At Home Order for Control of COVID-19, our
  offices are closed. We have implemented work from home protocol for next few weeks
  through at least April 19th, in coordination with the above order.

  Until further notice, and due to the Governor’s Safer at Home Order regarding growing
  concerns surrounding the COVID-19 outbreak, our office will be operating largely on a
  remote basis. Because we will not be physically fully staffed in our office, we anticipate
  delays in processing mail while we work to mitigate the spread of COVID-19. During this
  time, we request that all matters include service via email to darren@darwishfirm.com or
  fax to 424-369-5356 to ensure a proper and timely response.

  Confidentiality Notice: This email is subject to provisions of the Electronic Communications Privacy Act, Title 18 U.S.C. §§ 2510-2521
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  unconnected to either of us. If you subsequently elect not to receive future communications from my office via e-mail, please
  immediately notify me at the number above.
